Case 8:13-cr-00025-JSM-AEP Document 60 Filed 01/06/14 Page 1 of 2 PageID 154




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                Case No. 8:13-cr-25-T-30EAJ

  ABDUL JAMAL WESLEY BREWLEY


                      PRELIMINARY ORDER OF FORFEITURE

         Before the Court is the United States' Motion for a Preliminary Order of

  Forfeiture (Doc. 58), pursuant to 21 U.S.C. § 853 and Rule 32.2(b)(2), Federal

  Rules of Criminal Procedure, for the following firearm and ammunition:

                (a)    One Glock 23, .40 caliber firearm, serial number
                       NYT117; and

                (b)    Ten rounds of Hornady .40 caliber ammunition.

         Being fully advised in the premises, the Court finds that the firearm and

  ammunition described above were used, or intended to be used to commit or to

  facilitate the commission of the conspiracy to manufacture one hundred or more

  marijuana plants, in violation of 21 U.S.C. §§ 846 and 841(a)(1)(B)(vii), as charged

  in Count One of the Indictment, for which the defendant has been convicted. The

  United States has established the requisite nexus between the assets sought for

  forfeiture and the offense of conviction, and, thus, the United States is entitled to

  seizure of the firearm and ammunition, pursuant to Rule 32.2(b)(2).

         Accordingly, it is hereby
Case 8:13-cr-00025-JSM-AEP Document 60 Filed 01/06/14 Page 2 of 2 PageID 155




           ORDERED that for good cause shown, the motion (Doc. 58) of the United

  States is GRANTED.

           It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. §

  853 and Federal Rule of Criminal Procedure 32.2(b)(2), all right, title and interest

  of Abdul Jamal Wesley Brewley in the firearm and ammunition described above

  are forfeited to the United States for disposition according to law. In accordance

  with Rule 32.2(b)(4) and the defendant’s Plea Agreement, the order of forfeiture

  will be final as to the defendant at the time it is entered. Doc. 44 at 9.

           The Court retains jurisdiction to enter any further orders necessary for the

  forfeiture and disposition of the property, and to address any third party claims that

  may be asserted in these proceedings.

           ORDERED in Tampa, Florida, on January 6, 2014.




  Copies furnished to:
  All Parties/Counsel of Record
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